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JURY NOTE

  

United States of America, Case No_ CR 16-824(A).JFW

NOTE # 1 FRO|V| THE JURY
q'_ oy/

P|aintif'fs,

 

V.

 

TlME:
Heon-Cheo| Chi,

Defendants.

\_/`./V`/`./V\/\/vv

 

THE COURT having been notified of
____ The jury has reached a unanimous verdict.
_ The jury advises the Court of the following:

_X_ The jury requests the following:

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Dated§ 7// 7 / 7 Signed: __,~` ::'SJC.;) \`~€-Lil£ 1a ’\}¢,I.

Fgr~ejge`r'son' 'c§°<trié Jury

